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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF
 AMERICA
                                                   CRIMINAL NO. 16-10343-ADB

        v.

 (3) MICHAEL J. GURRY
 (6) JOSEPH A. ROWAN

        Defendants


        GOVERNMENT’S OPPOSITION TO DEFENDANTS’ SUPPLEMEMNTAL
       MEMORANDUM REGARDING THE ADMISSIBILITY OF TAPE RECORDED
                             STATEMENTS

I.     INTRODUCTION

       Defendants Rowan and Gurry seek to subvert long established, well-settled evidentiary

principles barring the admission of self-serving statements. The defendants claim that (1)

instructions are not hearsay, (2) that tape recordings are admissible to show what the defendants

did not say during certain meetings, and (3) that tape recorded statements fall under Rule 803(3)

exception for present-sense impressions. All of these arguments fail for the reasons discussed

below. Because Rowan and Gurry’s prior statements from taped interviews are hearsay not

subject to any exception, defendants cannot present the statements in either their case-in-chief or

cross-examination of the government’s witnesses. See United States v. Cianci, 378 F.3d 71, 106

(1st Cir. 2004).

II.    LEGAL PRINCIPLES

       Hearsay statements are generally excluded as evidence at trial because they are

considered untrustworthy. The defendant’s out-of-court statements are not hearsay if they are

“offered against” the defendant. Fed. R. Evid. 801(d)(2). This is because statements offered
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against a party are the product of the adversarial system and possess circumstantial guarantees of

trustworthiness. See Fed. R. Evid. 801(d)(2) Advisory Committee’s Note. A party’s admission

has “a special value when offered against the party” … it “discredits the party’s statements

inconsistent with the present claim asserted in pleadings and testimony, much like a witness

impeached by contradictory statements.” McCormick on Evidence § 254, at 141 (John W.

Strong ed., 4th ed.1992).

       In contrast, a defendant’s self-serving statements are untrustworthy. Fed. R. Evid.

801(d)(2). A defendant’s attempt to introduce their own self-serving statements would

“effectuate an end-run around the adversarial process by, in effect, testifying without swearing

an oath, facing cross examination, or being subject to first-hand scrutiny by the jury”. United

States v. McDaniel, 398 F.3d 540, 545 (6th Cir. 2005).

III.   ARGUMENT

       A.      Rowan and Gurry’s Self-Serving Instructions Are Hearsay

       Rowan and Gurry’s defensive statements are classic hearsay because they are offered “to

prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801(c). The defendants

seek to admit carefully selected portions recorded statements in which Rowan and Gurry appear

to describe seemingly legitimate sales practices. These statements are offered to show “the truth

of the matter asserted”—to show that that Rowan, Gurry, and Insys employees acted in
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conformance with the proffered statements. Take, for example, a few tape-recordings played

during Joseph Rowan’s opening statement:

          “We are focusing on the right physicians doing the right talks with the right
           audience.” 1/28/2019 Trial Tr. at 171:10-12, 20-22;

          “[W]e are not promoting the product for other than breakthrough cancer pain. But the
           patient and the physician can take it even if they don’t have that diagnosis.” Id. at
           174:6-8;

          We are not enticing anybody … Don’t talk about enticing when we have our
           speakers.” Id. at 181:11-13;

          “We don’t want honorariums. We don’t discuss honorariums with physicians. It’s
           not your business.” Id. at 181:15-172;

          “You don’t talk about money ever.” Id. at 181:18-19; and

          “When you’re submitting a doctor, potential to become a speaker, you don’t say:
           ‘…[H]e said he’s going to write a lot more if he becomes a speaker.’” Id. at 181:19-
           22.

Each statement is offered to describe Rowan, Gurry, and Insys sales representatives’ actions.

They fail the classic hearsay test: the statements would have no purpose if they were not true.

       The defendants try to garble the hearsay rules by claiming that instructions are not

hearsay. To be clear, verbal instructions are hearsay if—as here—they are offered to prove the

defendant acted in accordance with the instructions. Fed. R. Evid. 801. Defendants grossly

mischaracterize United States v. Bailey, 270 F.3d 83, 87 (1st Cir. 2001). In Bailey, agents

tracked a barrel containing 93 pounds of marijuana. Id. at 85. At trial an agent testified that a

cooperator (a) brought agents to a rendezvous point and (b) called the defendant’s beeper,

punching in the code “411.” Id. The cooperator in Bailey never made a verbal statement. The

First Circuit held that the cooperator’s acts of “making a phone call, and her driving the agents to

the rendezvous, was non-assertive conduct and outside the scope of the hearsay rule.” Id. There
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is no analogy between testimony describing the cooperator’s physical actions and Rowan and

Gurry’s tape-recorded verbal statements.

       B.      The Tapes Are Not Admissible To Show the Absence of Certain Speech.

       The defendants argue that the tape recordings are admissible to show what the defendants

did not say during those recordings. This argument defies legal precedent and common sense.

Under the defendants’ reasoning all hearsay would be admissible. Statements against interest are

not hearsay and are admissible under Rule 801(d)(2). All other hearsay statements would be

admissible to show the absence of statements against interest. The defendants’ exception would

swallow the rule.

       The defendants support their argument with two inapposite cases. Both cases involved a

witness who testified that he did not hear a specific statement. In Hoffman v. Neves, a prisoner

sued two former prison nurses for inadequate medical treatment. No. 17-13263, 2018 WL

4610866, at *2 (E.D. Mich. Sept. 26, 2018). The Plaintiff stated that the prison doctor never told

nurses to delay treatment. Id. (in summary judgment briefing). In Llamas v. Seibel, a prosecutor

asked an officer “Did you get any information that [the victim] was assaulted by anyone other

than the defendant?” No. 16-CV-05812-WHO, 2017 WL 3782175, at *8 (N.D. Cal. Aug. 31,

2017). The officer answered, “No, I didn’t.” Id. The courts correctly admitted that testimony

because an assertion “that no statement was ever made” is not an out-of-court statement. Id., see

Fed. R. Evid. 801(c). Indeed, neither court admitted a single out-of-court statement, let alone a

list of unfettered recordings like the ones offered by the defendants.

       C.      Rule 803(3) is Inapplicable Because the Statements Do Not Reflect Gurry
               and Rowan’s State of Mind

       Nor do Gurry and Rowan’s recorded statements fall under the Rule 803(3) exception for

a declarant’s “then existing state of mind (such as motive, intent, or plan).” Fed. R. Evid. 803(3).
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Rule 803(3) has two requirements. First, it “requires contemporaneity between the event that

gives rise to the state of mind or intention and the declarant’s expression of that state of mind or

intention.” Packgen v. Berry Plastics Corp., 847 F.3d 80, 91 (1st Cir. 2017) (internal citations

omitted). Non-contemporaneous statements are “untrustworthy, and therefore unreliable,

because [the declarant] had enough time to fabricate and misrepresent his statement.” United

States v. Rivera-Hernandez, 497 F.3d 71, 80 (1st Cir. 2007). Second, the exception typically

applies to brief statements about the declarant’s condition—for example, that she was afraid,

hungry, exhausted—and “has been held not to allow more expansive statements elaborating upon

the underlying reasons for the declarant’s state of mind.” United States v. Alzanki, 54 F.3d 994,

1008 (1st Cir. 1995). United States v. Fontenot, 14 F.3d 1364, 1371 (9th Cir. 1994) (Rule

803(3) “narrowly limit[s] those admissible statements to declarations of condition—‘I’m

scared’—and not belief—‘I’m scared because someone threatened me.’”).

       The recordings are not contemporaneous with a specific event. The recordings contain

general planning and strategy conversations about how to promote Subsys to doctors. To the

extent that the defendants argue that Rowan and Gurry’s statements reflect their state of mind

when the statements were made, “that [a] statement was made at one point during the time of

charged conspiracy cannot be sufficient to mandate its admission.” United States v. Cianci,

378 F.3d 71, 106 (1st Cir. 2004) (emphasis added). It is unduly prejudicial to admit the

defendants’ self-serving statements to illustrate their purported state of mind at a few pinpoints

during a years-long conspiracy. Fed. R. Evid. 403. To the extent that defendants argue that

Rowan and Gurry’s statements reflect their state of mind during interactions with doctors, the

recordings are not contemporaneous perceptions of those interactions. Compare with United

States v. Rivera-Hernandez, 497 F.3d 71, 82 (1st Cir. 2007) (excluding statement justifying
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fraudulent invoices because it was made “well after” the demand for a kickback). Thus,

defendants’ reliance on United States v. Partyka is misguided. 561 F.2d 118, 125 (8th Cir.

1977). Unlike the case at bar, Partyka turned on the defendant’s state-of-mind at a single

instance—when the government informant first asked defendant to sell drugs to an undercover

agent. Id. at 121.

         Next, the defendants’ own description of the recordings makes it clear that the recordings

describe the declarant’s beliefs, not his present mental condition. The defendants offer

“Rowan’s statements rejecting sales representatives’ misguided suggestions that financial

inducements be dangled out as enticements to potential prescribers.” Defs’ Supp. Memo. at 10,

ECF No. 723. Rowan goes far beyond stating his condition—instead he explains why he is

rejecting the sales representatives’ suggestion, what they should do instead, and how they should

do it.

         Additionally, other statements by Rowan—some of which may be offered by the

government—demonstrate that Rowan’s allegedly exculpatory statements are actually self-

serving attempts to cover his tracks. In a recording cited by the defendants, Rowan tells his sales

team not to talk about money with physicians. But in other calls, Rowan clearly links speaker

fees and prescriptions. Rowan tells one sales rep (Raymond Furchak) to use a speaker if he’s

going to “give you the scripts you need, give two a week.” Rowan congratulates another sales

representative for attending a speaker program because the speaker wrote four prescriptions in

the week after the program. He repeatedly talks about the “return on investment” of the speaker

programs. Rowan and Gurry both use coded language: “This is a game, we know how to play
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the game” (Gurry) and “[You need to get] uncomfortable in a comfortable way” (Rowan).1

       The court rejected the same type of self-serving statements in United States v. Cianci,

another RICO case. There, the defendant offered a tape in which he tells a contractor that he

would not tolerate corruption, “No one will ask you for a thing. If anybody does, you pick up the

phone and call me. I’ll cut his .... off and have him arrested, okay.” United States v. Cianci, 378

F.3d 71, 105 (1st Cir. 2004). Later, the defendant correctly guesses that the contractor is an FBI

agent. Id. The court affirmed the district court’s decision to exclude those statements as “‘self-

serving’ attempts to cover tracks already made.” Id. at 106. Similarly, in United States v.

Brown, the court excluded self-serving videos in which the defendants espoused their belief that

the government does not have authority to collect personal income taxes. No. 09-30-GZS, 2009

WL 3151870, at *2 (D.N.H. Sept. 24, 2009). The court held that the “self-serving statements of

the Defendants that they wanted to offer were clearly hearsay, being out of court statements

offered for the truth of the matters asserted” and there was “no other evidentiary basis to admit

evidence relating to the state of mind of either Defendant.” Id.

       The instant case differs from United States v. Hayes, which was cited by the defendants,

in two important ways. 369 F.3d 564, 568 (D.C. Cir. 2004). First, there was no evidence in

Hayes that the defendant was being duplicitous when he told the government-cooperator to “tell

the truth.” Second, the exhortation “tell the truth” reflects the speaker’s state of mind—it is very




       1
          The recordings were disclosed in February and April 2017. Based upon counsel’s
opening statement, the United States is evaluating whether it will introduce these recordings in
its case in chief and reserves the right to do so.
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different from Rowan and Gurry’s wide-ranging advice about how they could increase sales

while appearing compliant.

          D.     The Rule of Completeness Does Not Apply to the Proffered Recordings

          Even if the Court admits some excerpts of tape-recorded conversations offered by the

government, the defendant’s self-serving statements are not admissible under the rule of

completeness. The rule of completeness “does not permit the admission of otherwise

inadmissible evidence simply because one party has referred to a portion of such evidence, ...

rather, it operates to ensure fairness where a misunderstanding or distortion created by the other

party can only be averted by the introduction of the full text of the out-of-court statement.”

United States v. Simonelli, 237 F.3d 19, 28 (1st Cir. 2001) (rejecting the admission of prior

consistent statements). United States v. Bauzo-Santiago demonstrated the limits of the rule of

completeness: the court admitted the defendant’s confession but excluded the defendant’s later

recantation. 49 F. Supp. 3d 155, 158 (D.P.R. 2014). The court ruled that the statements were

separate and distinct. Id. (citing Harrington v. United States, 504 F.2d 1306, 1315 (1st Cir.1974)

(refusing to admit documents merely because they were executed on the same day). Here too the

defendant’s incriminating statements and defensive statements are separate and distinct.

          E.     The Defendants Must Authenticate the Tapes Through a Qualified Witness

          If the Court reaches the issue of authenticity, the government agrees that the tape

recordings—if found to be admissible—may be authenticated by Furchak, Guzman, Rowan,

Gurry, or another qualified person who participated in the recorded conversation. But contrary

to the defendants’ assertion, the recordings cannot be admitted solely through a forensic expert

witness because the expert cannot identify the voices on the recordings.2 Defs’ Supp. Memo. at



2
    The government does not dispute that the digital files are forensically sound.
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15, ECF No. 723. The defendants cannot rely on United States v. Rengifo, which involved tapes

created during a wiretap investigation. 789 F.2d 975, 979 (1st Cir. 1986). There, the

authenticating agent “testified that he had some familiarity with the voices of the speakers in the

recorded conversations because he had obtained voice exemplars from [several speakers] and, in

addition, had listened to some of the actual conversations.” Id.

       Nor does Rule 104(d) allow defendant Rowan or Gurry to testify solely for the purpose of

admitting an exhibit. Rule 104(d) is based on the Supreme Court’s decision in Simmons v.

United States, which held that when a defendant testifies in support of a motion to suppress

evidence, his testimony may not be used against him thereafter unless he makes no objection.

390 U.S. 377 (1968). Consequently, Rule 104(d) is typically applied to motions to suppress.

Even then, defendants are often required to answer certain questions on cross-examination.

United States v. Roberts, 14 F.3d 502, 517 (10th Cir. 1993) (allowing the prosecutor to question

the defendant about his ability to run a business while substantially under the influence of drugs

during suppression hearing); United States v. Williams, 754 F.2d 672, 676 (6th Cir. 1985) (at the

suppression hearing, the defendant was compelled to answer whether he knew he was carrying

drugs because he had placed his credibility in issue in his earlier testimony). The defendants

have not identified a case in which Rule 104(d) has been used to allow a defendant to admit an

exhibit into evidence without providing any other testimony. If Rowan or Gurry testify to

authenticate and admit the recordings, they must be subject to full cross-examination.

       F.       The Scope of Cross Examination

       Contrary to their assertion, whomever the Defendants choose to call during their case in

chief, the scope of cross examination of each witness should not be limited merely to the tapes’

authenticity, voice identifications, and the accuracy of the transcripts. (See Defendant Joseph

Rowan’s Supplemental Memorandum Regarding Admissibility of Whistleblower Tapes, ECF
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736 at 2-3). Rule 611 (b) merely restricts cross examination to the “subject matter of the direct

examination and matters affecting the credibility of the witness” The subject matter of the tapes,

not just authenticity of the tapes, are very clearly ripe for cross-examination. See, e.g. Neeley v.

Israel, 715 F.2d 1261, 1264 (7th Cir. 1983) (defendant who testified to events on the day of the

murder could be cross-examined about “earlier confrontations.”).



IV.    CONCLUSION

       The government respectfully requests the Court deny the Defendants’ motion to admit the

proffered tape recordings because the recordings are self-serving hearsay not subject to any

exception.


                                              Respectfully submitted,

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Date: February 27, 2019
